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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

               CASE NO. 08-60165-CR-DIMITROULEAS/Rosenbaum



  UNITED STATES OF AMERICA,

             Plaintiff,

  v.

  ANTHONY DEHANEY, et al.

             Defendants.

                                  O R D E R

               THIS CAUSE is before the Court on the Federal Public

  Defender's Motion to Withdraw (DE 84) as to defendant Anthony

  Dehaney.   Being fully advised, it is hereby

             ORDERED AND ADJUDGED that the motion is GRANTED.             The
  Federal Public Defender's Office is hereby released from any

  further duties in this cause.         Substitute CJA counsel has been

  appointed by separate order.

             DONE AND ORDERED at Fort Lauderdale, Florida, this 29th

  day of July, 2006.




  Copies to:

  AUSA Jeffrey Kay (FTL)
  Barry Butin, Esq.
  AFPD Chantel Doakes (FTL)
